         Case 1:22-cr-00673-LAK Document 410-2 Filed 03/15/24 Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                      :

        -v.-                                                  :    S6 22 Cr. 673 (LAK)

SAMUEL BANKMAN-FRIED,                                         :

                                Defendant.                    :

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                                                     Exhibit B

                       Google Document from Samuel Bankman-Fried’s Email Account
       Case 1:22-cr-00673-LAK Document 410-2 Filed 03/15/24 Page 2 of 4



Prologue


   1) Get firm commitments on funding
          a) Deadline: Friday, 11/25
          b) Let’s say this is worth ~$xB in total
   2) Work, on background, with reporters on getting narratives out
          a) Through Tuesday, 11/29
   3) Try to get AWS access
          a) Through Tuesday, 11/29
   4) At the DealBook Summit, tease or announce The Plan
          a) Wednesday, 11/30


The Plan

   1) Announce that:
          a) There is funding of $xB
          b) This funding is conditional upon:
                  i)  Getting sufficient controls/transparency/oversight in place on FTX
                 ii)  Turning the exchange on by 12/7
                iii)  Removing FTX International from Chapter 11, or at least getting most of it
                      in The Bahamas
          c) Do this Wednesday, 11/30
   2) Start a large PR push
          a) I’ll go on a bunch of stations/podcasts/etc.
          b) Start tweeting actively
          c) Get as much support as possible
          d) Starting 11/30
   3) If we have AWS access:
          a) Get security audit, controls, transparency
                  i)  By 12/5
          b) Turn on
                  i)  By 12/7
   4) If we don’t have AWS access:
          a) Put together The Proposal


The Proposal

   1) Put together a formal proposal from Archangel LTD. File it in the Chapter 11 court, and
      announce it publicly.
         a) Thursday, 12/1
   2) The Proposal says:
Case 1:22-cr-00673-LAK Document 410-2 Filed 03/15/24 Page 3 of 4



  a) Archangel LTD (a newco) will manage the reorg (but not acquire FTX)
  b) Archangel will take all the companies out of Chapter 11
  c) Governance going forward will be:
         i)  FTX International: a CEO or President, and a Board of Directors, mutually
             agreed upon by the Provisional Liquidator, the Securities Commission of
             The Bahamas, and Archangel
        ii)  SBF: to the extent that he has a role going forward, it will be with
             oversight from the above
       iii)  Semi-indepdent foreign subsidiaries (e.g. EU, Japan, US):
                 (1) They would receive the right, should they want it, to
                 (2) Full independent access to their own data and platform
                 (3) Governance
       iv)   FTX US is solvent. If Zach and Brandon want to, they can keep running
             FTX US as an independent entity. If not, it’ll be part of the Archangel
             process.
  d) Archangel will see if the Provisional Liquidator (Brian Simms) and the Security
     Commission of The Bahamas confirm that sufficient audits, controls,
     transparency, and oversight are in place to prevent something like this meltdown
     from happening again
         i)  By 12/5; if not, then there’s a 1 week extension
  e) FTX International issues an additional 10% equity (~70m shares), to be issued to
     customers.
  f) FTX International will assume all of the transferable assets and liabilities of
     Alameda as part of its margin call, and then Alameda will wind down, except for
     any untransferable assets it has left
  g) FTX International will turn on
         i)  By 12/7; if not, then there’s a 1 week extension
  h) Immediately after turning on: as is described here
         i)  FTX International will drop ~17m shares on all account holders, pro-rata
             to net asset value; and another ~17m shares, evenly between all
             accounts that have > $10 in assets on the platform
        ii)  FTX International will drop ~5m FTT tokens on all account holders, pro-
             rata to net asset value; and another ~5m FTT, evenly between all
             accounts that have > $10 in assets on the platform
  i) FTX Japan and FTX US will fully open up withdrawals
  j) The Token Facility will open up, and process particular token withdrawals
         i)  At least $100m/day worth, and at least $4b total by 1/17
  k) Customers will be able to convert up to their first $x of assets to asset backed
     tokens, $1:$1, which will be withdrawable
  l) Any other funding received will go towards customers, unless and until FTX
     International is able to fully open up withdrawals
  m) The terms of investment would be at least as good for investors
  n) On 2023-03-01:
    Case 1:22-cr-00673-LAK Document 410-2 Filed 03/15/24 Page 4 of 4



             i)  FTX International will drop ~17m shares on all account holders, pro-rata
                 to net asset value; and another ~17m shares, evenly between all
                 accounts that have > $10 in assets on the platform
            ii)  FTX International will drop ~5m FTT tokens on all account holders, pro-
                 rata to net asset value; and another ~5m FTT, evenly between all
                 accounts that have > $10 in assets on the platform
3) The Proposal makes it clear that, if these deadlines are not met, The Proposal is null
   and void
      a) Archangel will see if the Provisional Liquidator (Brian Simms) and the Security
          Commission of The Bahamas confirm that sufficient audits, controls,
          transparency, and oversight are in place to prevent something like this meltdown
          from happening again
             i)  By 12/5; if not, then there’s a 1 week extension
      b) FTX International will turn on
             i)  By 12/7; if not, then there’s a 1 week extension
